                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                               GREENEVILLE DIVISION

B.P., et al.,

                Plaintiffs,

v.                                                 No: 2:23-cv-00071-TRM-JEM



CITY OF JOHNSON CITY, TENNESSEE, et al.,

                Defendants.

__________________________________/



          NOTICE OF MOTION AND MOTION FOR CLASS CERTIFICATION;
                 MEMORANDUM OF POINTS AND AUTHORITIES




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                            NOTICE OF MOTION AND MOTION

       TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

       COME NOW Plaintiffs B.P., H.A., and S.H., (“Plaintiffs”), through their undersigned

counsel, to respectfully request an order certifying the following class pursuant to Federal Rule of

Civil Procedure 23(b)(3): All women, including minors, who reported crimes of sexual violence

by any person to JCPD from January 1, 2018 to December 31, 2022 (“Reporter-Survivor Class”).

       Plaintiffs also seek an order certifying the following issues pursuant to Federal Rule of

Civil Procedure 23(c)(4) on behalf of the following class: All individuals, including minors, who

were sexually abused, drugged, or trafficked by Sean Williams or Alvaro Fernando Diaz-Vargas

(“Sex Trafficking Survivor Class”):
   1. Whether the Williams sex-trafficking venture violated the Trafficking Victims Protection
       Act, 18 U.S.C. § 1591.
   2. Whether any Defendant knew (or recklessly disregarded) that Williams was engaged in a
       sex-trafficking venture in violation of the Trafficking Victims Protection Act, 18 U.S.C. §
       1591.
   3. Whether any Defendant knowingly benefitted (or attempted or conspired to benefit) from
       participation in the Williams sex-trafficking venture.
   4. Whether any Defendant obstructed, attempted to obstruct, or in any way interfered with
       or prevented the enforcement of the Trafficking Victims Protection Act, 18 U.S.C. §
       1591.
       Finally, Plaintiffs seek an order certifying the following issue pursuant to Federal Rule of

Civil Procedure 23(c)(4) on behalf of the following subclass: All members of the Sex Trafficking

Survivor Class who were sexually assaulted by Sean Williams following the first report to the

JCPD of Sean Williams’ alleged sexual violence on or about November 7, 2019 (“Williams

Survivor Subclass”):
   5. Whether any of the following alleged conduct shocks the conscience in violation of the
       Due Process Clause of the United States Constitution:



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       a. Any Defendant sharing in the proceeds of Williams’ sex-trafficking scheme by
           accepting money or items of value from Sean Williams directly or indirectly through
           a co-conspirator.
       b. Any Defendant soliciting a bribe from Williams or a co-conspirator in exchange for
           insulating Williams from investigation or prosecution;
       c. Any Defendant concealing evidence of Williams’ crimes.
       This Motion is made pursuant to Federal Rule of Civil Procedure 23 and is based upon this

Notice of Motion and Motion, the following Memorandum of Points and Authorities, the

Declaration of Vanessa Baehr-Jones in Support of Plaintiffs’ Motion and all exhibits thereto, all
other pleadings and papers on file, and such other arguments and materials as may be presented

before the Motion is taken under submission.


Dated: October 15, 2024                     Respectfully submitted,


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                                       I.    INTRODUCTION
        This case involves grave allegations of sex trafficking, the sexual assaults of dozens of

women and children, and perhaps most disturbing, public corruption at the hands of the Johnson

City Police Department that enabled the perpetrator of these heinous acts, Sean Williams, to

terrorize his victims over the course of years. Plaintiffs, three survivors of sexual violence, allege

two primary theories of liability against the City of Johnson City in this putative class action. First,

on behalf of all women who were trafficked by Williams, Plaintiffs allege that JCPD officers

obstructed investigations into Williams’ sex-trafficking venture to avoid discovery of the fact that

the officers were engaged in a conspiracy to extort and bribe Williams, a known drug dealer. A

subclass of these victims who were assaulted by Williams allege this conscience-shocking conduct

violated their constitutional right to substantive due process. Second, on behalf of all women who

reported sexual abuse to JCPD, Plaintiffs allege that JCPD violated their constitutional right to

equal protection of the law by customarily discriminating against women through certain well-

established investigative practices.

       Much has transpired in this litigation since Plaintiffs finalized their Second Amended

Complaint. Over the past nine months, Plaintiffs have obtained an overwhelming amount of

evidence confirming their factual allegations and legal theories. However, due to the nature of their

allegations relating to Williams’ sex trafficking scheme—specifically, allegations regarding

causation and damages—Plaintiffs advance herein a carefully crafted approach to certification

under Rule 23(c)(4). Through this much less frequently used mechanism, Plaintiffs request the

Court certify only certain issues common to all members of the Sex Trafficking Survivor Class.

This approach allows the Court and the parties to enjoy the efficiencies and benefits of the class

action vehicle as appropriate, while providing for streamlined individualized proceedings to

resolve the remaining issues.

       Additionally, Plaintiffs have confirmed through discovery the existence, prevalence, and

impact of the various practices JCPD officers regularly employed when investigating cases of

sexual assault reported by women. These practices were previously identified by police practices



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expert Eric Daigle, but Plaintiffs have now independently verified his conclusions by obtaining

and reviewing the source documents on which he relied, among others. Thanks to this evidence

and the nature of the legal issues involved in a Section 1983 claim, Plaintiffs are well-suited in

seeking certification of the Reporter-Survivor Class under Rule 23(b)(3).
                      II.     RELEVANT FACTUAL BACKGROUND
           A. Summary of Lawsuit and Plaintiffs’ Claims

       For over a decade, Sean Williams raped and sexually exploited women and children in

Johnson City, Tennessee, as part of a sex trafficking conspiracy. Images and videos obtained from

his digital devices at the time of his arrest show that he sexually assaulted at least 67 women.

Baehr-Jones Decl., Ex. 1. 1 In November 2022, the U.S. Department of Justice and the Federal
Bureau of Investigation (“FBI”) opened a sex trafficking investigation into Williams based on

these crimes, which remains ongoing. ECF 121, Second Am. Compl. (“SAC”), at 3. 2

       Plaintiffs allege that the Johnson City Police Department (“JCPD”) allowed Williams to

perpetrate these crimes for years with impunity, and bring claims against Defendant Johnson City

and JCPD officers under three theories of liability: First, under the Trafficking Victims Protection

Act (“TVPA”), Plaintiffs allege that JCPD officers intentionally obstructed investigations into

Williams’ rapes and child sex crimes in violation of 18 U.S.C. §§ 1595, 1591(d). SAC, ¶¶ 64-80,

143-83, 327-37. Under the TVPA, Plaintiffs also allege that JCPD officers benefitted financially

from their participation in covering up Williams’ sex trafficking conspiracy, in violation of 18

U.S.C. §§ 1595, 1591(a). Id. at ¶¶ 57-63, 81-87, 311-26. 3 Specifically, JCPD officers, including

Defendant Toma Sparks, allegedly extorted cash from Williams through his coconspirator Female

4. Id. at ¶ 63. Second, Plaintiffs allege Constitutional violations under the Equal Protection and




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  All exhibits cited herein are attached to the Declaration of Vanessa Baehr-Jones.
2
  Williams also faces federal criminal charges for production of child pornography based on his
sexual exploitation of three children, including then-nine-month-old infant C.A. See United
States v. Williams, No. 2:23-cr-00111-JRG-CRW.
3
  In August 2023, the FBI opened a federal public corruption investigation into JCPD’s potential
criminal misconduct relating to Williams, which also remains ongoing. Baehr-Jones Decl. ¶ 5.


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Substantive Due Process Clauses, pursuant to 42 U.S.C. § 1983, for JCPD officers’ discriminatory

treatment of female reporters of sexual violence; and for officers engaging in unconstitutional

conduct that shocks the conscience. Id. at ¶¶ 231-50, 367-88.
            B. Sex-Trafficking Venture, Beneficiary Liability, and Obstruction
        1. Williams’ Sex Trafficking Venture

        Williams used three primary means and methods to recruit, entice, harbor, provide, obtain,

maintain, and solicit women and children, in furtherance of the sex trafficking conspiracy,

including: (1) providing benefits in the form of drugs, cash, and free lodging to coconspirators,

and other third parties, to recruit, obtain, transport, maintain, and provide women; (2) using drugs

to addict and control women who would then recruit, obtain, transport, maintain, and provide other

women; and (3) offering something of value to women, including free lodging and money, at times

under the guise of hiring them for purportedly legitimate purposes, so that he could obtain and gain

access to them and their minor children. SAC, ¶ 22.

        Evidence in Plaintiff B.P.’s case demonstrates how Williams carried out the conspiracy.

B.P. testified that on the night of her rape, Williams’ coconspirator, Alvaro Diaz-Vargas, enticed

her and her friend back to Williams’ apartment and she went reluctantly. Ex. 2, B.P. Tr., 38:4-17.

Once B.P. was in Williams’ apartment, Williams gave her a beer that was laced with a drug that
rendered B.P. unconscious. Id. at 39:11-24. B.P. recalled waking up with Williams on top of her,

knowing she had been violated. Id. at 63:17-24; 64:5-25; 65:1-3. She immediately went to urgent

care and then a hospital to get a drug test, a rape kit, and give a statement to the police. Id. at 41:16-

18. In April 2023, law enforcement recovered digital evidence from Williams at the time of his

arrest that included images/videos depicting B.P.’s sexual assault. Ex. 1, ¶ 4. To date, there has
been no indictment in B.P.’s case.
        2. TVPA Violations, Defendants’ Obstruction, Beneficiary Liability

        Evidence supports that JCPD officers, including then-chief Karl Turner, then-captain

Kevin Peters, and Investigators Toma Sparks and Justin Jenkins engaged in intentional acts that




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violated the TVPA. These intentional acts were not limited to a single case but are evidenced by

the totality of the officers’ conduct over the course of the alleged conspiracy.

       JCPD efforts to obstruct the sex crimes investigations into Williams began as early as

December 2019 when JCPD supervisor Matthew Gryder closed B.P.’s case before the rape kit

results came back; before any interview of Williams or Diaz-Vargas; and before JCPD took any

other investigative steps. Ex. 3, Gryder Tr., 115:6-25. In fact, once B.P.’s rape kit results did come

back showing male DNA was present, the evidence sat in JCPD custody from July 2020 to March

2021 before B.P. was ever informed. Ex. 4. By the time Sparks finally called B.P. in March 2021,

JCPD had evidence Williams had raped nearly two dozen women and children. See Ex. 5. Yet,

instead of encouraging B.P. to pursue the case, Sparks told her Williams was “untouchable,” and

nothing would ever “stick” against him. B.P. Tr., 115:23-25. Sparks further discouraged B.P. by

telling her that JCPD could not guarantee her safety. Id. at 116:1-10. B.P. nevertheless called

Sparks and told him she still wanted to press charges. Id. at 168:20-24. Rather than obtain a warrant

for Williams’ DNA at that point, however, Sparks did nothing to further investigate. Ex. 6.

       Just six months after B.P.’s report, in June 2020, another victim of Williams, Female 2,
attempted to report her sexual assault to JCPD. By then, Peters, who was Gryder’s supervisor and

the overall supervisor of CID, was aware of both B.P.’s rape case and Female 2’s case. See Exs. 7,

8. Despite both Gryder and Peters knowing that Williams was now accused of two sexual assaults
under similar circumstances, neither informed the investigating officer in Female 2’s case,

Deborah Dunn, and Dunn did not run a background check or take any other steps to learn that

Williams was a repeat offender. Ex. 9, Dunn Tr., 195:10-12; 207:4-7, 25; 208:1-4. Female 2’s case

was closed before JCPD conducted any interviews of Williams or Diaz-Vargas, before any

interviews of any percipient witnesses, and before the collection of physical evidence. See Ex. 10.

       The most direct evidence of obstruction comes from JCPD’s actions on September 19,

2020, and afterwards, in responding to an active crime scene at Williams’ apartment. Sparks and

Jenkins arrived after Mikayla Evans (Female 3) fell five stories from Williams’ penthouse

apartment window to the cement sidewalk below. Ex. 11. Instead of securing the crime scene,


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however, these two experienced CID investigators facilitated evidence destruction: Williams’

blood-covered hands were never tested. Ex. 12. Video cameras were never secured. Ex. 13. They

also permitted Williams to maintain custody of his cellphone. By the time they finally seized the

phone at the end of his interview at headquarters, Williams had wiped it. See Ex. 11.

        Later that same morning, Jenkins, Sparks, and JCPD officers Keith Sexton and David

Hilton executed a residential search warrant on Williams’ apartment. Id.; Ex. 14. Inexplicably, the

officers left a large rifle unsecured during the search, neither seizing nor inventorying it, despite

knowing Williams was a felon. Ex. 15. Instead, the officers seized Williams’ safe, and digital

devices, including five computers, three cellphones, and six video cameras. Ex. 16. The officers

never obtained a follow-on search warrant for any of the digital devices—even though that was
the evidence their original warrant sought—but within days, they had obtained a search warrant

for the safe. Ex. 17.

        On September 23, 2020, a group of JCPD officers filmed the opening of the safe, which

contained, among other items, large amounts of cash and a baby doll with a hole in her genitals.

Ex. 18. The officers never counted or inventoried the cash before the safe was returned; the money

simply disappeared. See Ex. 16. According to Williams, JCPD stole approximately $420,000 from

the safe. SAC ¶ 86. Nor did officers seize the baby doll and two dildos as potential evidence of

child sexual exploitation. See Ex. 16. JCPD officers also disregarded a list found in Williams’
apartment entitled, “Raped,” which included 23 female names, including names that appeared to

reference babies or children, neither seizing nor inventorying it. See id.

        JCPD leadership, including Turner and Peters, were aware as of September 19, 2020, of

the seized digital devices and the need for a follow-on warrant but took no action to secure one.

See Ex. 19. Beginning in or around November 2020, former Special Assistant U.S. Attorney Kateri

Dahl tried to convince Turner, Peters, and Sparks to obtain a search warrant for the devices, but

Turner discouraged her from trying to obtain one, and Sparks failed to send her a draft affidavit

for months. See, e.g., Ex. 20, at 9; Exs. 21-23. In May 2023, a search warrant was finally obtained

for the digital devices, which by then had sat in JCPD custody unlawfully for two and a half years.


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Ex. 24. Inv. Little found images and videos of Williams raping women and sexually exploiting

children. Ex. 25, Finney Tr., 274:9-12; 277:16-20. Had JCPD acted on the evidence that Williams

was sexually exploiting children in September 2020, they could have prevented the sexual

exploitation of minor victim C.A. in December 2020, among other horrific crimes Williams

perpetrated with impunity.

       Thus, by December 2020, Turner and Peters knew that Williams had likely raped nearly

two dozen women; that there was a commercial element to his victimization (paying women to

bring other women to his apartment); and that Dahl was investigating Williams’ sex crimes as

potentially part of a human trafficking conspiracy. See Ex. 20 at 14, 31-32. Notwithstanding this

knowledge, Peters and Turner obstructed Dahl’s federal investigation into Williams and

effectively terminated her under false pretenses. See id. at 9, 131-44; Exs. 19, 21-23. Another two

years would pass before JCPD re-initiated investigations into Williams’ rapes—and only after

Williams was arrested with videos and images of over 67 women he had violated. By then, the

FBI had opened its own sex trafficking investigation into Williams.
       In July 2022, Peters and Sparks supervised Inv. Brady Higgins during the investigation

into Female 8’s report of rape by Williams. Peters watched Higgins interview her from another

room and provided advice during breaks; Peters also reviewed Female 8’s statement. Ex. 26,

Higgins Tr., 96:6-14; 114:12-25; 115:1-10, 22-25; 116:1-5. The resulting report omitted the critical
fact that Female 8 told Higgins she saw photographs of Williams putting his penis in the mouths

of children. Instead, the report stated only that she saw photographs of Williams with children. Ex.

27; Higgins Tr., 152:23-25; 153:1-21; 154:1-25; 155:1. Ultimately, Gryder closed Female 8’s case

in March 2023, just weeks before Williams was apprehended in possession of files depicting

Female 8’s rape. Ex. 28. There have still been no charges in her case.

       Finally, as to Plaintiffs’ allegations regarding JCPD’s extortion of Williams, evidence in

the form of bank records supports that Williams’ coconspirator Female 4 made payments to JCPD

officers Sparks and Jenkins. For instance, bank records for Williams’ company, Glass and

Concrete Contracting LLC, show cash being withdrawn during the time of the conspiracy, in


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amounts similar to what is alleged in the SAC. See ECF 235 at 5-7. Similarly, financial records

for Sparks and Jenkins show deposits into their accounts for amounts which appear to be above

any known sources of legitimate income. See, e.g., ECF 346 at 5-6 (evidence that Jenkins engaged

in a money laundering scheme to hide approximately $400,000 of additional income); id. at 5

(evidence of payment from Female 4 to Jenkins on June 1-2, 2022). For example, the records for

just one of Sparks’ accounts show                                                        during the

alleged conspiracy. Baehr-Jones Decl. ¶ 6. Sparks’ bank records also reveal evidence tying Sparks

to a payment of $14,000 to Female 4 on January 22, 2024. By this time, Female 4 was a witness

in the federal public corruption investigation—an investigation in which Sparks had also been

interviewed as a potential target. Ex. 29, Female 4 Tr., 153:9-16; Ex. 30 at 6. Sparks’ bank records

show $21,200 in outgoing checks within seven days of when a consignment shop, Luxury Label,

deposited $21,000 in cash from a purported buyer—about whom no records exist—and then wired

$14,000 to Female 4. See ECF 330-11; Ex. 31.
           C. The Daigle Report

       In July 2022, Dahl filed a lawsuit against Johnson City, alleging that JCPD impeded her

efforts to investigate Williams’ sex crimes and then declined to renew her contract in retaliation.

See Dahl v. Turner, et al., Case No. 2:22-cv-00072-KAC-JEM. In response to the ensuing

community outrage at news of the allegations, Johnson City hired police practices expert Eric

Daigle to conduct an audit of JCPD’s practices with respect to investigating sexual assault cases.

The City gave Daigle access to nearly four years’ worth of police reports and records of sexual

assault cases—about 325 files. See Ex. 33, Daigle Report, 6-7. He and his team analyzed each

investigation using an assessment tool developed based on the requirements outlined in JCPD

policies, Daigle Law Group Policy Center Model Policies, and several other sources of law

enforcement model policies and guidelines. Id. at 7. JCPD officers and supervisors, including

Turner and Peters, also sat for interviews with Daigle to answer questions about JCPD handling

of victims’ reports, as well as department practices and culture. Id. at 5.




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        Daigle’s audit also involved analyzing JCPD’s policies and procedures known as “General

Orders.” Throughout the relevant period, JCPD maintained a comprehensive set of General Orders

that governed how department personnel were to carry out their job duties. Ex. 34, 30(b)(6) Tr.,

31:8-34:12. The GOs, which are organized by topics like “Interview & Interrogation” and “Crime

Scene Unit,” were provided to all officers either during their probationary training period or at the

time they were created. Ex. 34, 30(b)(6) Tr., 56:22-62:4; Ex. 9, Dunn Tr., 54:1-57:3. They were

uniform for all officers throughout the relevant period, and all officers were required to comply

with them. Ex. 34, 30(b)(6) Tr., 56:22-60:25; Ex. 9, Dunn Tr., 57:5-58:25. Of note is General

Order 600.13, which sets forth JCPD’s protocol for investigating “Sexually Oriented Crimes.” Ex.

35. Under this GO, officers “shall use appropriate communication skills when interacting with

victims” and “shall be trained and knowledgeable about investigation of sexually oriented crimes

and its impact on victims.” Id. at 1. The policy instructs officers “to be mindful of the impact of

trauma on memory,” specifically that victims may “experience difficulty with memory storage and

recall” and, as a result, “may be inconsistent or unclear in their descriptions.” Id. Officers are

directed to assess credibility with that in mind. Id. The GO requires the responding officer to

preserve the crime scene, obtain detailed information, obtain statements from the victim and

witnesses, and other steps aimed at identifying and locating a suspect. Id.; see also Ex. 36, GO

600.07, Interview & Interrogation (requiring officers to interview and obtain a statement from the

suspect if one is identified).

        While Daigle’s methodology included analysis of individual case files, his conclusions

were drawn as to JCPD as a department, not about any specific investigation or officer. Ex. 32,

Daigle Tr., 388:4-11 (“Q: With regard to your audit, you are looking at process issues and you’re

reviewing investigation information, but you’re not making findings about any particular

investigation, that that investigation was good or bad. A: Correct.); id. at 46:13-48:2 (purpose of

auditing over 325 case files was to identify “patterns” at JCPD). Daigle’s evaluation yielded

extensive findings and recommendations aimed at bringing JCPD in line with the “policies,

procedures, and operational practices” necessary “to ensure constitutional policing.” Ex. 33,


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Daigle Report, 3; see also id. at 4 (the point is to “hold the department accountable” for

constitutional policing). The key findings of the report are: 1) JCPD policies and procedures are

insufficient to meet industry standards and legal requirements for sexual assault investigations; 2)

JCPD officers need training to ensure effective and unbiased responses to allegations of sexual

assault; 3) JCPD should immediately implement the District Attorney’s Sexual Assault protocol;

4) JCPD should improve investigations of non-stranger and alcohol or drug-facilitated sexual

assault; 5) JCPD should ensure a more victim-centered response to sexual assault; 6) JCPD should

ensure close supervision and internal oversight of sexual assault investigations; and 7) JCPD

should ensure that sexual assault investigations are properly closed. Id. at 11-12.
           D. JCPD’s Discriminatory Investigative Practices

       Plaintiffs allege that, in response to reports of sexual assaults, JCPD engaged in a pattern

of investigative practices that discriminated on the basis of sex. This pattern was comprised of a

set of department-wide practices carried out consistently during the relevant period.

       First, JCPD had “a practice of not conducting suspect interviews” in sexual assault cases.

Ex. 33, Daigle Report, 20. Of all rape cases from 2018-2022 in which a suspect was identified

(105 out of 133), 66% of the time JCPD did not contact the suspect, let alone get a statement. Id.

at 20-21. 4 This statistical evidence is corroborated by officer testimony and statements to Daigle

in interviews “confirming that it was a practice at JCPD not to contact the alleged suspect until

they were convinced that the assault reasonably did occur.” Id. at 21; see also, e.g., Ex. 9, Dunn

Tr., 65:17-69:2 (if victim did not want to prosecute, practice was to close the case and move on,

regardless of the status of the investigation), 203:3-208:19, 213:24-216:13 (ceased Female 2’s rape

investigation prior to interviewing identified witness or suspect because victim had “learned her

lesson” and did not want to prosecute but had also changed her story to say she was not raped).




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  Whether an identified suspect was interviewed can be determined based on the case narrative in
the case file. See Ex. 9, Dunn Tr., 117:13-24 (department policy and practice for investigators
writing case narratives was to document “every single thing” done in the investigation).


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       In Daigle’s words, this practice is “baffling.” Id. Interviewing an identified suspect is basic

investigative work that is required under JCPD General Order 600.07. See Ex. 36; Ex. 33, Daigle

Report, 20 (“Experienced investigators would and should contact the suspect as soon as possible.

While there may be some kind of delay based on the situational response, getting the suspect’s

version of events is an imperative step to conducting a full and complete investigation.”). JCPD’s

practice of not interviewing suspects uniquely “undermines the integrity of sexual assault

investigations.” Id. For one, due to the nature of sexual assault, physical evidence is typically going

to be at the crime scene or on the victim’s and/or suspect’s person. Ex. 35, GO 600.13, Sexually

Oriented Crimes, 4-7. Additionally, if there is no physical evidence, the investigation (and any

future prosecution) will often come down to a test of credibility, making timely interview of the

suspect even more important, so they have less time to manufacture an alibi. Ex. 32, Daigle Tr.,

185:18-186:4. As 90% of sexual assault reporters are females, this practice disproportionately

affected women. Compare Ex. 9, Dunn Tr., 59:5-60:4 (in discussing CID generally, Dunn testified

that “no circumstances” would justify failing to promptly contact witnesses, visit crime scenes,

attempt arrests) with id. at 203:3-208:19, 213:24-216:13 (in investigating female-reported rape

case, officer chose not to interview identified suspect and witness and did not visit crime scene).

       Second, JCPD had a clear practice of intimidating female sexual assault victims in a way

that discouraged prosecution. On paper, it was the department’s policy to “assist victims of

sexually oriented crimes in a supportive manner, using appropriate crisis intervention skills.” Ex.

35, GO 600.13. To accomplish this goal, the GO required special training on the “realities,

dynamics and investigations” of such crimes, and emphasized the larger goal of instilling “[p]ublic

confidence in the reporting and investigative process” in order to “encourage all victims of sexually

oriented crimes to report the crime.” Id. Daigle echoed this sentiment, explaining the importance

of walking survivors through the stages of the investigation in order to build their trust and educate

them about the process so they feel safe enough to press charges. Ex. 32, Daigle Tr., 418:15-420:5.

       In practice, JCPD officers committed rampant violations of this policy. Based on Daigle’s

review of 325 cases, “JCPD’s investigative processes discourage victim participation” and “create


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unnecessary barriers to building trust and rapport with women reporting sexual assault and make

reporting unnecessarily burdensome for the victim.” Ex. 33, Daigle Report, 21-22 (emphasis

added). Examples of these practices include requiring the victim to come to the department to

provide a statement and give interviews (rather than at a location where the victim feels more

comfortable), conducting victim interviews in rooms set up for suspect interviews with visible

handcuffs and restraints, asking victims early in the investigation if they wished to seek criminal

prosecution and if they would testify against the accused, while also making statements about the

emotional toll of prosecution, and allowing unwarranted gender-based assumptions and

stereotypes about women to compromise the investigation. Id. at 22.
       In addition to the JCPD records Daigle relied on, other evidence corroborates that this

practice was well established within JCPD. See, e.g., Ex. 37 (screenshot of Higgins interviewing

Female 8 in interrogation room with handcuffs on ground); Ex. 26, Higgins Tr., 202:1-12; 209:23-

217:6 (asking Female 8 to recount her sexual assault at least four times until she broke down); Ex.

2, B.P. Tr., 169:4-12; 169:20-21; 181:17-183:20 (JCPD had B.P. recount her assault multiple

times, and repeatedly called her back to the station); Ex. 9, Dunn Tr., 203:3-208:19, 213:24-216:13

(ceased Female 2’s rape investigation prior to interviewing identified witness or suspect because

victim had “learned her lesson” and did not want to prosecute but had also changed her story to

say she was not raped).
       “Being involved in a sexual-related crime is emotionally and physiologically challenging.”

Ex. 33, Daigle Report, 29. Many survivors “are fearful of being victimized again in the courtroom,

and so they don’t want to participate.” Ex. 32, Daigle Tr., 419:25-420:5. Rather than working with

victims to build trust and rapport, JCPD did the opposite, creating an “uninviting and difficult”

process for victims that “overemphasized the emotional toll of prosecution and minimized the

seriousness of the rape in their communication with the victim.” Ex. 33, Daigle Report, 29; see

also Ex. 32, Daigle Tr., 84:6-85:14 (officer bias impairs investigations). JCPD’s practice violated

its own policies and contravenes basic principles of fair treatment for trauma survivors that law




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enforcement has long known are necessary to protect their participation in the justice system. Id.

at 416:9-418:14.

       Finally, JCPD had a practice of improperly closing cases of sexual assault involving female

victims using “exceptional means.” JCPD is mandated to report crime data to the Tennessee

Bureau of Investigation via the Tennessee Incident Based Reporting System (“TIBRS”). Ex. 33,

Daigle Report, 6. Once a case is opened, an officer cannot close it without providing a basis for

doing so. Id. at 25. For example, “arrest” is one basis for case closure under TIBRS. TIBRS also

allows closure by “exceptional means” when a qualifying element beyond law enforcement control

prevents an arrest. Use of this category requires all the following conditions be met: 1) the

offender’s identity is known; 2) there is sufficient probable cause to support the arrest, charging,

and prosecution of the offender; 3) the location of the offender is known; and 4) a reason beyond

law enforcement control prevents the arrest. The officer must then specify one of the following

reasons that no arrest can be made: A) offender deceased; B) district attorney declined prosecution;

C) offender in custody of another agency or jurisdiction; D) victim refused to cooperate; or E) the

offender is a juvenile. Ex. 38.
       Daigle found that an alarming percentage of sexual assault cases reported to JCPD between

2018-2022 were closed by exceptional means, including nearly half (49.62%) of all rape cases.

Ex. 33, Daigle Report, 26; Ex. 32, Daigle Tr., 150:25-151:24. For other types of sexual assaults,
exceptional means were used to close, on average, over 40% of reported cases. Ex. Daigle Report

at 26-28. The percentages were so high that Daigle undertook a deeper review of JCPD’s case

closure practices. He found that JCPD, as a department, was improperly using exceptional means

to dispose of sexual assault cases and consistently violated TIBRS requirements. Ex. 32, Daigle

Tr. 151:18-24; 285:17-286:13; 287:3-288:20. Of the rape cases closed by exceptional means, over

half were attributed to victim non-participation. Ex. 33, Daigle Report at 28 (25% for “victim being

unwilling to prosecute” and 31% for “victim being uncooperative”).

       These case closures—both the sheer number of exceptional clearances and the fact that the

category was systematically misused—create an inference of discrimination. As an initial matter,


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had JCPD adhered to the TIBRS requirements, sexual assault investigations impaired by officer

bias could not have been closed so quickly and incompletely, and further investigation would have

increased prosecutions. Ex. 32, Daigle Tr., 84:6-85:14. Consider, for example, officers who

believe that women who allege sexual assault against a non-stranger, or who were under the

influence of drugs or alcohol during their attack, are not credible or sympathetic and thus conclude

that those cases are unlikely to yield a successful prosecution. JCPD officers had a practice of

closing those cases by exceptional means in violation of TIBRS rules. That JCPD cited victim non-

participation as the rationale for most exceptional clearances is also consistent with officer bias—

as described above, JCPD’s victim blaming and shaming caused unwillingness among survivors

to immediately and fully cooperate. In sum, JCPD, spurred by widespread officer bias, misused

the exceptional clearance category to shut down sexual assault cases prematurely.

       While any one of the above three practices on their own is highly improper, they operated

in tandem to yield a discriminatory custom borne out of animus toward and stereotypes about

women. Officers systematically failed to interview suspects while simultaneously blaming,

shaming, and intimidating female victims through sexist remarks and harassing conduct, thereby

discouraging their participation. With no suspect statement and a sufficiently re-traumatized

victim, the officers then (improperly) cleared the cases by exceptional means when the victims

unsurprisingly could not immediately commit to prosecuting the case. Having successfully cleared

the case with minimal-to-no investigation, the officers were off the hook. The victims, meanwhile,

were “placed at increased risk of harm,” Ex. 33, Daigle Report, 14, and deprived of justice, dignity,

and equal protection of the law.
                                      III.    ARGUMENT
       A. The Proposed Classes Meet the Four Prerequisites of Rule 23(a): Numerosity,
          Commonality, Typicality, and Adequacy of Representation
       1. Numerosity

       To satisfy the numerosity requirement, Plaintiffs must demonstrate that the class is “so

numerous that joinder of all members is impracticable.” Fed. R. Civ. P. 23(a)(1). There are “no

strict numerical test[s] for determining impracticability of joinder.” In re Am. Med. Sys., Inc., 75



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F.3d 1069, 1079 (6th Cir. 1996). Rather, numerosity “requires examination of the specific facts of

each case and imposes no absolute limitations.” Id. However, “when class size reaches substantial

proportions, [] the impracticability requirement is usually satisfied by the numbers alone.” Id.

(quoting Gen. Tel. Co. v. EEOC, 446 U.S. 318, 330 (1980)).

       Here, the Reporter-Survivor Class has approximately 325 members, see Ex. 33, Daigle

Report, 5, and the Williams Survivor and Sex Trafficking Survivor Issues Classes include more

than 40 individuals, see Ex. 1, ¶ 5. These figures satisfy Rule 23(a)(1)’s numerosity requirement.

See Garner Prop. & Mgmt., LLC v. City of Inkster, 333 F.R.D. 614, 622 (E.D. Mich. 2020) (40 or

more members is sufficient to satisfy numerosity); Davidson v. Henkel, 302 F.R.D. 427, 436 (E.D.

Mich. 2014) (numerosity is satisfied by a class of at least “between 21 and 40” members).
       2. Commonality

       Plaintiffs must demonstrate that there are “questions of law or fact common to the class.”

Fed. R. Civ. P. 23(a)(2). Though the rule “speaks of ‘questions’ in the plural, [the Sixth Circuit

has] said that there need only be one question common to the class.” Sprague v. Gen. Motors

Corp., 133 F.3d 388, 397 (6th Cir. 1998) (emphasis added). “Variations in the circumstances of

class members are acceptable, as long as they have at least one issue in common.” In re Am. Med.

Sys., Inc., 75 F.3d at 1080; Bacon v. Honda of America Mfg., Inc., 370 F.3d 565, 570 (6th Cir.

2004). This common issue must be one “the resolution of which will advance the

litigation.” Sprague, 133 F.3d at 397.
           a) Reporter-Survivor Class: §1983 Claim

       Determining commonality requires a precise understanding of the nature of the underlying

claims presented by the plaintiffs. Phillips v. Sheriff of Cook Cnty., 828 F.3d 541, 552–53 (7th Cir.

2016). Here, S.H. and the Reporter-Survivor Class assert a claim against the City pursuant to 42

U.S. § 1983, which provides a private right of action when there has been a “violation of a right

secured by the Constitution and laws of the United States…committed by a person acting under

color of state law.” West v. Atkins, 487 U.S. 42, 48 (1988). Under Monell v. Department of Social

Services, 436 U.S. 658 (1978), police departments and the cities they serve may be liable under



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§1983 when, inter alia, their policies, customs, or practices cause constitutional deprivations and

are sufficiently pervasive and widespread that the municipality’s failure to act amounts to tacit

approval (“custom theory”); or when a municipality has been deliberately indifferent to known

deficiencies in the training of its employees resulting in constitutional violations (“failure to train

theory”). Id. at 701, 707-08; Leach v. Shelby County Sheriff, 891 F.2d 1241, 1245-48 (6th Cir.

1989) (discussing custom and failure to train theories); Miller v. Sanilac Cnty., 606 F.3d 240, 254-

55 (6th Cir. 2010) (analyzing failure to train theory).

       Under either theory, a plaintiff must show either actual or constructive notice on the part

of the municipality and either acquiescence or deliberate indifference to the practice/inadequate

training. Memphis, Tenn. Area Local, Am. Postal Workers Union v. City of Memphis, 361 F.3d

898, 902 (6th Cir. 2004); Gregory v. City of Louisville, 444 F.3d 725, 752 (6th Cir. 2006) (“A

city’s custom…can be unconstitutional [if it is] consistently implemented to result in constitutional

violations with…implicit ratification by city policymakers.”). Finally, a plaintiff must show the

municipality’s failure to act or train was the “moving force” behind the constitutional deprivation.

City of Canton v. Harris, 489 U.S. 378, 388-89 (1989). At this point in the analysis, the burden

shifts to the municipality to satisfy heightened scrutiny by showing an “exceedingly persuasive

justification” for the action. Mississippi Univ. for Women v. Hogan, 458 U.S. 718, 724 (1982).

       The Reporter-Survivor Class’s claim under § 1983 is alleged on both the “custom” theory

and “failure to train” theory. First, Plaintiffs alleged JCPD had a deeply-embedded practice of

unconstitutionally discriminating on the basis of sex when responding to and investigating reports

of sexual assault by blaming, shaming, or otherwise discouraging victims from prosecuting their

assaults, ceasing investigations unless the victim immediately agreed to prosecute, and improperly

closing cases pursuant to “exceptional means.” See Sec. I(D), supra. Plaintiffs allege that JCPD

consistently engaged in this department-wide practice, despite officer turnover, from at least 2018

to 2022. See SAC, ¶¶ 188-216; Ex. 9, Dunn Tr., 33:11-37:5 (describing turnover of CID

personnel). Due to the pervasive and widespread nature of this custom, Plaintiffs allege the City




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knew or should have known about it yet consistently responded pursuant to a policy of inaction.

SAC, ¶¶ 368-381.

       Under their second theory, Plaintiffs allege that the City is liable due its failure to train its

employees to ensure constitutional policing. Specifically, Plaintiffs allege that JCPD’s failure to

train and supervise its officers proximately resulted in constitutional violations of class members’

right to equal protection of the law and that the inadequacies of this training were so obvious that

the City knew or should have known about them yet did nothing. Id. at ¶¶ 371, 396-399, 403.

       There is significant overlap between the elements of these two theories and numerous

questions of law and fact are ripe for class wide determination, including: whether JCPD’s

practices relating to investigating and responding to reports of sexual assault discriminated on the

basis of sex; whether JCPD’s investigative practices were sufficiently widespread and pervasive

so as to constitute a “custom” under Monell; whether the City had actual or constructive notice of

JCPD’s practice; whether Reporter-Survivor Class Members were deprived of a federal or

constitutional right by virtue of being subjected to JCPD’s systemic sex-based discrimination and,

if so, whether those deprivations were caused by a person acting under color of state law; whether

JCPD adequately trained officers on the elimination of bias, the proper procedures for investigating

reports of sexual violence and clearing such cases by “exceptional means,” how to conduct victim-

centric interviews of female victims of sexual assault; whether any inadequacies in training on the

aforementioned topics resulted in practices that deprived Reporter-Survivor Class Members of

equal protection of the law on the basis of sex in violation of the Fourteenth Amendment; whether

the City had actual or constructive notice of the inadequacies of JCPD’s training; and, if so,

whether the City responded with acquiescence or deliberate indifference.

       These questions of law and fact will be answered based on common evidence of the

Defendants’ conduct—JCPD’s uniform policies and training and class-wide practices; the City’s

knowledge (actual or constructive); the City’s actions (or lack thereof); and evidence that these

violations were motivated by discriminatory animus on the part of police officers. Because this

evidence is “common” to all class members, answering these questions as to one class member,


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answers them as to all. See General Tel. Co. of Southwest v. Falcon, 457 U.S. 147 (1982) (“proof

that an employer operated under a general policy of discrimination” warrants class certification

where “discrimination manifested itself in hiring and promotion practices in the same general

fashion”); Snead v. CoreCivic of Tennessee, LLC, 2018 WL 3157283, at *18 (M.D. Tenn. June 27,

2018) (“class members are as one in their exposure to a particular and sufficiently well-defined set

of allegedly illegal policies and practices”) (citing Parsons v. Ryan, 754 F.3d 657, 679-80, 683

(9th Cir. 2014)). These questions more than satisfy commonality for the Reporter-Survivor Class.

See Sprague, 133 F.3d at 397 (one common question satisfies commonality).
           b) Proposed Issues for Sex-Trafficking Survivor Class and Williams Survivor
              Subclass Satisfy Commonality

       Plaintiffs propose below five issues for certification under Rule 23(c)(4). These issues are

common because each one focuses on legal or factual questions that are central to the claims

advanced by all class members: all elements of the TVPA violations (except causation and

damages) and whether certain JCPD officer conduct in relation to Sean Williams’ sex-trafficking

venture “shocks the conscience” in violation of the Due Process Clause (again, with causation and

damages reserved for later proceedings). The same evidence of defendant or third-party knowledge

and conduct will control the outcome of each issue adjudicated, and none will turn on class-

member specific evidence. See Martin v. Behr Dayton Thermal Products LLC, 896 F.3d 405, 414

(6th Cir. 2018) (finding commonality “where the same evidence will suffice for each member to

make a prima facie showing or the issue is susceptible to generalized, class-wide proof”).
       3. Typicality

       Rule 23(a)(3) requires that “the claims or defenses of the representative parties are typical

of the claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3). A class representative’s claim is

typical if “it arises from the same event or practice or course of conduct that gives rise to the claims

of other class members, and if his or her claims are based on the same legal theory.” In re Am.

Med. Sys. Inc., 75 F.3d at 1082. It follows that, where typicality is found, “the representative’s

interests will be aligned with those of the represented group, and in pursuing his own claims, the




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named plaintiff will also advance the interests of the class members.” Id. In Sprague, the Sixth

Circuit summarized the “premise” typicality: “as goes the claim of the named plaintiff, so go the

claims of the class.” 133 F.3d at 399.

       Plaintiff S.H.’s claims are typical of the Reporter Class. S.H. alleges that, when she

reported her sexual assault to the JCPD, officers failed to properly investigate her claim, made

derogatory comments about her based on the fact she is a female, and intimidated and discouraged

her from prosecuting her claims. On this basis, she alleges her constitutional rights to equal

protection of the law were violated. See SAC, ¶¶ 259-292. The Reporter Class Members’ claims

arise from the same set of practices by JCPD and are based on the same legal theory. See SAC, ¶¶

184-216, 231-250, 301(a), 367-381. There is nothing about S.H. or her allegations that give rise to

a conflict between her and the Reporter Class.

       Plaintiff B.P. is typical of the Sex-Trafficking Survivor Class because, like all other

members of that class, she alleges Defendants facilitated Williams’ sex-trafficking venture, which

in turn harmed her. SAC, ¶¶ 23-27. Plaintiff B.P. and the class she represents base their TVPA-

related claims on the same set of facts relating to JCPD officer knowledge and conduct. Plaintiff

H.A. is typical of the Williams Survivor Subclass because, like all other members of that class, she

alleges that Sean Williams assaulted her after JCPD received a report of Williams’ sexual violence

on November 7, 2019, (SAC, ¶¶ 89-94), and that Defendants are a but-for cause of the class

members being assaulted and the resulting harm. Plaintiff H.A. and the class she represents allege

civil rights violations based on instances of JCPD conduct that “shocks the conscience.”
       4. Adequacy of Representation

       Rule 23(a)(4) requires that the proposed class representatives “will fairly and adequately

protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). “There are two criteria for determining

whether the representation of the class will be adequate: (1) the representatives must have common

interests with unnamed members of the class; and (2) it must appear that the representatives will

vigorously prosecute the interests of the class through qualified counsel.” Senter v. Gen. Motors

Corp., 532 F.2d 511, 524-25 (6th Cir. 1976). The common interest criterion ensures that the



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plaintiff has a strong incentive to represent the interests of the class. In re Am. Med. Sys., 75 F.3d

at 1083. The second criterion looks at the competency of counsel. Id.

        As set forth above, the class representative’s interests align with the interests of class

members they seek to represent, satisfying the “common interests” requirement. See Senter, 532

F.2d at 524-25. Additionally, Plaintiffs have exercised good faith and sound judgment in

developing and prosecuting this case for over two years and have dedicated significant time sitting

for depositions, responding to discovery, and supervising the litigation while retaining and

working with Class Counsel. Baehr-Jones Decl., ¶ 3. As such, Rule 23(a)(4)’s requirement is

satisfied. Daffin v. Ford Motor Co., 458 F.3d 549, 553 (6th Cir. 2006). Plaintiffs’ counsel will also

adequately represent class members, as they have demonstrated the qualifications, experience, and

expertise to adequately and fairly represent their clients in this case. Stout v. J.D. Byrider, 228 F.3d

709, 717 (6th Cir. 2000); see Baehr-Jones Decl. ¶ 3, Exs. 39-41.
        B. Certification of the Reporter-Survivor Class Under Rule 23(b)(3)

        Federal Rule of Civil Procedure 23(b)(3) authorizes class certification for damages when

three requirements are met: common questions of law or fact must “predominate” in the litigation;

collective action must be “superior” to other methods of adjudicating the claims; and plaintiffs

must demonstrate that the class members are “ascertainable.” See Fed. R. Civ. P. 23(b)(3).

Plaintiffs propose certification of the following Reporter-Survivor Class under Rule 23(b)(3):
        All women, including minors, who reported crimes of sexual violence by any
        person to JCPD from January 1, 2018, to December 31, 2022. 5
        1. Predominance

        Numerous factual and legal issues are common to all members of the Reporter-Survivor

Class. See Sec. III.A.2.a. Because at least one of these issues go to “the heart” of their § 1983

claim, predominance is met. Sterling v. Velsicol Chem. Corp., 855 F.2d 1188, 1197 (6th Cir.1988).




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  Plaintiffs propose an end date of December 31, 2022 in light of evidence that a new protocol
for investigating sexually oriented crimes was implemented starting on January 1, 2023. Ex. 34,
30(b)(6) Tr., 148:10-148:16.


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       The common question of whether JCPD’s alleged discriminatory practices were

sufficiently widespread to be a “custom” under Monell is an essential element of the Reporter-

Survivor Class’s § 1983 claim. See Monell, 436 U.S. at 694; Connick v. Thompson, 563 U.S. 51,

61-62 (2011) (evidence of a custom or pattern is ordinarily necessary to prove deliberate

indifference under Monell). To determine whether a practice constitutes a “custom” under Monell,

courts in the Sixth Circuit look at the duration, frequency, and consistency of the conduct, which

may be informed by statistical evidence, anecdotal evidence, police reports, and officer testimony,

among other things. See e.g., Snead v. Corecivic of Tennessee, LLC, 2020 WL 6469995, at *18

(M.D. Tenn. Apr. 6, 2020) (plaintiffs established a sufficiently pervasive “custom” through

statistical evidence of the high rate at which prison employees violated official policy for screening

and treating scabies in inmates, corroborated by anecdotal testimony from plaintiffs and other

inmates as to the prevalence of scabies within one year and testimony from former employee

supporting obvious policy violations). There is no “numerical standard [that] controls the

determination whether incidents of wrongful behavior cumulatively show a pattern amounting to

a custom or policy.” Carter v. Dist. of Columbia, 795 F.2d 116, 124 (D.C. Cir. 1986). Rather, the

sufficiency of the evidence is weighed based on the totality of the case-specific facts and

circumstances. For example, a relatively small number of instances of misconduct may establish a

custom where they are egregious and highly similar. See id.

       Here, Plaintiffs will present empirical evidence provided by Eric Daigle of the duration,

frequency, and consistency of the conduct. See Sec. II.D., supra (summarizing statistical findings);

Ex. 33; see also Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 442, 458-59 (2016) (statistical

evidence may be used to prove liability in a class action where an individual plaintiff pursuing the

same claim would be allowed to use statistical evidence to prove liability). To further show the

similarity of the incidents of misconduct, Plaintiffs will also rely on police records (e.g., Exs. 6,

10, 27) and officer testimony (Exs. 9, 26, 34). This is precisely the type of evidence used to prove

the “custom” element in other § 1983 claims.




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       Because this analysis involves reviewing and comparing details of individual incidents,

defendants will argue that “individualized inquiries” stand in the way of predominance. Not so.

The same analysis is required whether the claim is asserted on behalf of a class or by an individual

plaintiff. In other words, it is not a product of this case proceeding as a class action and cannot be

a basis for denying certification. Tyson Foods, 577 U.S. at 458-59. Because this evidence is

objective and not specific to any particular class member, class-wide adjudication is appropriate.

See Sterling, 855 F.2d at 1197 (common course of conduct well-suited to certification); Powers v.

Hamilton Cnty. Pub. Def. Comm’n, 501 F.3d 592, 619 (6th Cir. 2007) (dispositive facts and law

are the same as to each class member, satisfying both commonality and predominance).
       Another core question of Plaintiffs’ §1983 claim is whether JCPD’s custom violated the

Equal Protection Clause (“EPC”). For a custom to violate the EPC, Plaintiffs must show the custom

treated class members differently and that the unequal treatment was borne out of a discriminatory

animus toward women. U.S. Const. amend. XIV, § 1; United States v. Virginia, 518 U.S. 515, 531-

33 (1996). In many cases in which the plaintiff is found to have sufficiently established that a

police department custom was motivated by a discriminatory animus toward women, the courts

have relied on statistical evidence, anecdotal evidence of remarks by police officers, and evidence

from police reports. See, e.g., International Broth. Of Teamsters v. U.S., 431 U.S. 324, 336-339

(1977) (discriminatory intent can be established by statistical evidence and anecdotal evidence);
Chrisner v. Complete Auto Transit, Inc., 645 F.2d 1251, 1259 fn. 7 (6th Cir. 1981) (statistical

evidence may establish a prima facie case of discrimination in both individual and class actions);

Appleton v. Deloitte & Touche L.L.P., 168 F.R.D. 221, 226 (M.D. Tenn. 1996) (statistical evidence

can show discriminatory intent, and be bolstered with historical, individual, or circumstantial

proof); Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 701-02 (9th Cir. 1988) (officer remarks

that plaintiff’s husband was entitled to hit her because she was “carrying on” suggested “an

intention to treat domestic abuse cases less seriously than other assaults, as well as an animus

against abused women”); Chase v. Nodine’s Smokehouse, 2019 WL 1469412, at *2 (D. Conn. Apr.

3, 2019) (discriminatory intent shown with evidence of officer demeanor and statements that


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mocked the victim’s complaint of sexual assault and harassed her by “recharacterizing [her]

allegations . . . as ‘flirting’”).

        Thus, whether JCPD’s custom discriminates on the basis of sex will turn largely on the

same type of objective evidence discussed above regarding Defendants’ conduct, namely,

statistical evidence reflecting the outcomes of female-reported sexual assault cases (Ex. 33),

records documenting biased and overtly discriminatory statements by JCPD officers and

unfounded stereotype-based assumptions (Ex. 20, at 16-17), police records showing a

discriminatory impact of the relevant practices (Exs. 6, 10, 27), and expert findings that JCPD

officers relied on stereotypes of female survivors of sexual assault that systematically interfered

with their obligation to conduct objective investigations (Ex. 33). See Sec. I(D), supra.

        Plaintiffs will also rely on officer testimony as to their training, directives, and customary

practices with respect to the alleged discriminatory practices (Exs. 9, 26, 34), as well as their own

testimony and that of putative class members to corroborate both the pervasiveness and

permanence of JCPD’s custom throughout the class period and its discriminatory impact.

        While not necessary for purposes of class certification, Daigle has already done the work

for Plaintiffs on both the pervasiveness and permanence of JCPD’s practices and their

discriminatory nature. The Daigle Report serves as a data compilation and expert analysis of

hundreds of other incidents of what Daigle concludes was biased policing that discriminated on

the basis of sex. The hundreds of cases of similar constitutional violations by JCPD officers is

more than sufficient to constitute a “pattern of violations that would provide ‘notice to the cit[y]

and the opportunity to conform to constitutional dictates.’” Connick, 563 U.S. at 63 n. 7. Daigle

also concluded that JCPD’s investigative practices with respect to female-reported sexual assaults

were biased and resulted in victims being deprived of information necessary for well-informed

decisions, most importantly, whether to participate in the investigation and pursue prosecution.

Ex. 33, at 11, 23-24.

        The merits of these arguments, however, is for another day. For purposes of this motion,

the Court need only determine that this issue is one that turns on common evidence—that is,


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Defendants’ conduct—and is apt to drive the litigation of this claim. See Mata-Cuellar v.

Tennessee Dep't of Safety, 2010 WL 3732172, at *5, n. 4 (M.D. Tenn. Sept. 20, 2010) (improper

to consider the merits of the parties’ arguments at the class certification stage).
            a) Other Key Issues

        Once Plaintiffs prove JCPD’s practices were sufficiently widespread and pervasive to be

deemed a “custom” in the Monell sense, the remaining key issues are readily determined on a class

wide basis. For example, once Plaintiffs establish JCPD was engaged in systemic sex-based

discrimination, the Court may presume all members of the Reporter-Survivor Class were subjected

to that discrimination. See Snead, 2018 WL 3157283, at *18 (“Class members are as one in their

exposure to a particular and sufficiently well-defined set of allegedly illegal policies and

practices.”); Phillips, 828 F.3d at 550 (same). And, as this Court has acknowledged, “being

subjected to systemic sex-based discrimination is an injury.” ECF 119, Order on Motion for Leave
to Amend, p. 13 (emphasis added) (citing Card v. City of Cleveland, 270 F.R.D. 280, 293 (N.D.

Ohio 2010) (“Allegations of…gender discrimination resulting from polic[i]es or practices are often

‘by their very nature class suits, involving classwide wrongs’ and ‘common questions or law or

fact are typically present.’”)). Additionally, if Plaintiffs establish this set of practices constitutes a

“custom,” the Court can then determine whether that “custom” was unconstitutionally

discriminatory and this determination will apply class-wide. See Powers, 501 F.3d at 619

(constitutionality of challenged practice is the same for every class member); Mata-Cuellar, 2010

WL 3732172, at *6 (being subject to the improper conduct is a “common circumstance” that allows

court to decide, class-wide, “the constitutionality of the policies used” and sufficiency of training).

        The elements of the City’s notice and indifference are also at the heart of the Reporter-

Survivor’s § 1983 claim. These elements turn significantly on the same evidence Plaintiffs’ will

use to establish JCPD’s “custom” of discriminatory investigative practices, see supra, and

evidence of City policymakers’ conduct (or lack thereof). The more obvious JCPD’s constitutional

violations, the clearer the constructive notice to the City, and the easier it is to show that inaction

constitutes deliberate indifference. See Connick, 563 U.S. at 61-62 (if shown to be on notice,



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municipality can be deemed deliberately indifferent if no action is taken); Carter, 795 F.2d at 124

(“Egregious instances of misconduct, relatively few in number but following a common design,

may support an inference that the instances would not occur but for municipal tolerance of the

practice in question.”). At trial or in opposing a potential motion for summary judgment, Plaintiffs

will put forth evidence that the City was not simply negligent in its oversight on a handful of

“accidental” or sporadic discriminatory acts but rather acted consistent with a policy of always

being deliberately indifferent. Teamsters, 431 U.S. at 336-37. If Plaintiffs are successful in that

showing, resolution of the deliberate indifference element will apply classwide. See Hicks v.

Frey, 992 F.2d 1450, 1456–57 (6th Cir. 1993) (if plaintiff advances sufficient evidence to create a

genuine issue of material fact as to the existence of a custom or policy of inaction, then the question

of “deliberate indifference” is one for the jury to decide); Martin v. Behr Dayton Thermal

Products, LLC, 896 F.3d 405, 414 (6th Cir. 2018) (issues that turn on defendant’s knowledge and

conduct “need only be answered once because the answers apply in the same way to each [class

member]”). If not, Defendants may move to de-certify the Reporter-Survivor Class.

       Either way, this is a determination for a later date. See, e.g., Doe v. Claiborne Cnty., 103

F.3d 495, 504-05, 507-08 (6th Cir. 1995) (weighing sufficiency of evidence as to alleged deliberate

indifference at summary judgment stage). What is important in deciding the present motion is that

whether the City’s conduct amounts to a “policy of inaction” will necessarily be based on the

totality of evidence of its response to notice of many years’ worth of constitutional violations. See

Martin, 896 F.3d at 414 (issues turning on defendant’s conduct are “capable of resolution with

generalized, class-wide proof”). As with the “custom” analysis, the fact that Plaintiffs must present

evidence of a series of instances in order to establish notice and deliberate indifference is not a

function of this case being brought as a class action. It is what any plaintiff asserting a claim of

municipal liability under §1983 has to show. This is not a bar to certification.

       Finally, Plaintiffs must show the City’s policy of inaction was the “moving force” of the

constitutional violations. Under Monell, municipal liability attaches if the City’s “toleration of a

custom within the [JCPD] leads to, causes, or results in the deprivation of a constitutionally


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protected right.” 436 U.S. at 690-91. Like the elements of notice and deliberate indifference,

causation can be resolved based on common evidence that JCPD was engaged in a discriminatory

“custom.” In fact, the jury can infer that the City’s “tolerance of the practice in question” was a

but-for cause of the constitutional violations if it finds the instances of misconduct, even if

relatively few, were egregious and followed a common design. See Carter, 795 F.2d at 124.

Common evidence of JCPD’s behavior will establish a pattern amounting to a custom.

       Plaintiffs will have to prove their theory at trial, but, for class certification, there are

predominant issues central to each of Plaintiffs’ claims and subject to generalized proof. The Court

is free to revisit these issues at a later time if discovery shows, for example, that the number of

class members whose cases were closed by exceptional means or otherwise not investigated

properly due to matters unrelated to JCPD’s discriminatory practices is more significant than it

appears now. Young v. Nationwide Mut. Ins. Co, 693 F.3d 532, 544-45 (6th Cir. 2012).
           b) Potential Individual Issues Will Not Eclipse Common Issues

       Predominance does not require the absence of individual issues; it requires only that

common issues predominate over individual ones. See Young, 693 F.3d at 544 (“The fact that a

defense may arise and may affect different class members differently does not compel a finding

that individual issues predominate over common ones.”) (quoting Beattie v. CenturyTel, Inc., 511

F.3d 554, 564 (6th Cir. 2007)). Plaintiffs have detailed how the core issues of their § 1983 claim

will be resolved using class-wide evidence. Any other issues that might require individual analysis,

such as damages, can be dealt with manageably and do not undercut a finding of predominance.

See Sec. III.C.3 (trial plan); Beattie, 511 F.3d at 563 (individualized damages not a bar to class

certification); Sterling, 855 F.2d at 1197 (presence of questions peculiar to each class member was

not a bar to certification when liability arose from single course of conduct). Predominance is met.
       2. Superiority

       To certify their 23(b)(3) action, Plaintiffs must also satisfy the superiority requirement. The

Court may look to the following factors in deciding whether this requirement is met: “(1) the

interest of members of the class in individually controlling the prosecution or defense of separate



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actions; (2) the existence of pending litigation concerning the same controversy; (3) the desirability

of concentrating the litigation of the claims in this forum; [and] (4) the difficulties likely to be

encountered in the management of the class action.” Vassalle v. Midland Funding LLC, 708 F.3d

747, 757-58 (6th Cir. 2013). Here, superiority is met for many of the same reasons predominance

is met. Common issues predominate over individual ones, which means members of the Reporter-

Survivor Class do not have a strong interest in controlling their individual actions. More

importantly, in light of the sensitive subject matter of this case—claims of police misconduct in

response to reports of sexual assault—it is highly unlikely that many members of the class will

choose to bring individual lawsuits. See Young, 693 F.3d at 545. Plaintiffs also propose a

streamlined way of managing the litigation. See Sec. III.C.3 (trial plan).
       3. Ascertainability

       Ascertainability is “an implied requirement” that the putative class members can be readily

identifiable. Cole v. City of Memphis, 839 F.3d 530, 541 (6th Cir. 2016). “For a class to be

sufficiently defined, the court must be able to resolve the question of whether class members are

included or excluded from the class by reference to objective criteria.” Young, 693 F.3d at 538.

Like in Snead, “the members of the [Reporter-Survivor Class] should be objectively ascertainable

based on the defendant’s records—assuming the [class members made reports] and assuming the

defendant maintained such [reports] among its records.” 2018 WL 3157283, at *16; see also

Young, 693 F.3d at 539 (identifying class members “with reasonable accuracy using Defendants’

electronic records”). Members of the Reporter-Survivor Class can be identified from JCPD

records, and likely, Daigle has already done so. See Sec. I(D); see also Young, 693 F.3d at 540

(approving of expert help to identify class members).
       C. Certification of Issues Classes

       Plaintiffs demonstrated above that all proposed classes meet the Rule 23(a) prerequisites

to class certification. In addition to certification of the Reporter Survivor Class under Rule

23(b)(3), Plaintiffs seek certification of two issues classes under Rule 23(c)(4), which provides

that “an action may be brought or maintained as a class action with respect to particular issues.”



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Fed. R. Civ. P. 23(c)(4). Issue certification is appropriate “where common questions predominate

within certain issues and where class treatment of those issues is the superior method of

resolution.” Martin, 896 F.3d at 413. Courts may certify issues under Rule 23(c)(4) even if

“important matters such as actual injury, causation, and damages will have to be tried separately,”

so long as class-wide adjudication of certified issues will materially advance the litigation and

conserve party and judicial resources. Id. at 414 (cleaned up), 416.
       1. Sex-Trafficking Survivor Issues Class

       Plaintiffs identify the following issues appropriate for certification for the Sex Trafficking

Survivor Class:
       Issue 1: Whether the Williams sex-trafficking venture violated the Trafficking Victims
       Protection Act, 18 U.S.C. § 1591.
       Issue 2: Whether any Defendant knew (or recklessly disregarded) that Williams was
       engaged in a sex-trafficking venture in violation of the Trafficking Victims Protection Act,
       18 U.S.C. § 1591.
       Issue 3: Whether any Defendant knowingly benefitted (or attempted or conspired to
       benefit) from participation in the Williams sex-trafficking venture.
       Issue 4: Whether any Defendant obstructed, attempted to obstruct, or in any way interfered
       with or prevented the enforcement of the Trafficking Victims Protection Act, 18 U.S.C. §
       1591.

       Particularly instructive here is Hon. Jed S. Rakoff’s opinion granting class certification of

TVPA claims asserted against J.P. Morgan Chase on the theory that the bank facilitated Jeffrey

Epstein’s sex trafficking scheme. Doe 1 v. JPMorgan Chase Bank, N.A., 2023 WL 3945773

(S.D.N.Y., June 12, 2023) (“Doe 1”). The issues Plaintiffs propose for certification hew closely to

the common, predominate questions Judge Rakoff identified:
       An analysis of predominance must begin with the elements of the plaintiff's claims.
       To prove her claim that JP Morgan knowingly benefited from participating in
       Jeffrey Epstein’s sex-trafficking venture, in violation of the TVPA, Jane Doe must
       show that: (a) Jeffrey Epstein conducted a sex-trafficking venture; (b) JP Morgan
       participated in that venture; (c) JP Morgan benefited from participating in that
       venture; and (d) JP Morgan either knew or recklessly disregarded the fact that
       Jeffrey Epstein's sex-trafficking venture existed. To prove her claim that JP Morgan
       obstructed the enforcement of the TVPA with respect to Jeffrey Epstein’s sex-
       trafficking venture, Jane Doe must show that (a) JP Morgan knew of an effort to
       enforce the TVPA and that (b) JP Morgan intentionally obstructed, interfered with,



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       or prevented the enforcement of the TVPA….These claims rest on a core of
       questions that are common to the class.

Id. at *8 (emphasis added). 6

       As in Doe 1, the proposed issues focus on “elements [] resolved with class-wide

arguments” and “factual questions [] resolved with generalized proof” (2023 WL 3945773, at

*8)—specifically, through evidence about Sean Williams’s TVPA violation (Issue 1), or about a

defendant’s knowledge or conduct in relation to that TVPA violation (Issues 2 through 4), that

applies uniformly to the class without reference to any individual class-member. Issue 1 will turn

on evidence adduced in this case and in federal and state criminal investigations of Williams’

alleged TVPA violations. Issue 2 focuses on defendant knowledge of Williams’ TVPA violations,

based, for example, on the number and nature of reports to JCPD of Williams’ criminal activity,

evidence in JCPD custody, and on related statements among JCPD officers and Dahl. Ex. 20, Dahl

Rec. Tr. 13:22-14:24 (Dahl noting to Turner similarities between evidence in the Williams

investigation and a “rape / human trafficking case”); id. at 31:22-31:3 (Peters describing to Dahl

and Turner commercial transactions and enlistment of others while investigating Williams’ rape

of Female 12: “There’s text messages back and forth between her and Sean, her wanting to buy

drugs off of him. She had sent evidently another girl down there for him to have sex with. Then

there are some invoices that she had wrote up to where she has charged Sean and some other people

with her services.”); Ex. 5.

       Similarly, issues 3 and 4 will turn on evidence of defendant conduct, irrespective of any

class member’s individualized issues. Whether a JCPD officer obtained a benefit in connection

with Williams’ sex-trafficking scheme will be proved through financial records and through

testimony by JCPD officers and individuals with knowledge of their income and expenditures,



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  Notably, Judge Rakoff found these questions supported class certification under the stricter
requirements of Rule 23(b)(3). Therefore, the similarly framed issues Plaintiffs propose here
under Rule 23(c)(4) are on an even stronger foundation for certification. See, Martin, 896 F.3d at
411 (permitting issue certification under Rule 23(c)(4) where Rule 23(b)(3)’s predominance
requirement “has not been satisfied for the cause of action as a whole”).



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Williams and his co-conspirators, and experts. See Doe 1, 2023 WL 3945773, at *8 (whether JP

Morgan provided Epstein “material banking services,” and the attendant legal and factual

consequences, established by “generalized proof”). Whatever conclusions the factfinder draws—

for instance, from evidence of payments among two JCPD officers and Williams’ co-conspirator

Female 4 (See Sec. II. B. 2)—will apply to the class as whole. The same is true as to whether JCPD

officers engaged in obstruction. Where established, conduct that obstructed a TVPA investigation

is obstructive across the class. For instance, the events described in Sec. II. B. 2 are alleged to have

obstructed investigation of Williams: refusal to investigate and prosecute Williams, including

through witness intimidation and destruction of evidence, and terminating Dahl because of her

investigation in Williams’ sex trafficking. Whether and to what degree the obstructive conduct

caused damages would be determined in later proceedings.
       2. Williams Survivors Issues Class

       These questions are appropriate for certification for the Williams Survivor Subclass:
       Issue 5: Whether any of the following alleged conduct shocks the conscience in violation
       of the Due Process Clause of the United States Constitution:

           a) Any Defendant sharing in the proceeds of Williams’ sex-trafficking scheme by
              accepting money or items of value from Sean Williams directly or indirectly
              through a co-conspirator.
           b) Any Defendant soliciting a bribe from Williams or a co-conspirator in exchange for
              insulating Williams from investigation or prosecution;
           c) Any Defendant concealing evidence of Williams’ crimes.
       This issue is appropriate for certification because whether officer behavior “shocks the

conscience” is answered under an objective standard that will not change based on any class-

member specific facts. A single jury can evaluate the conduct under the relevant legal standards

only once, rather than having each member the Williams’ Survivor Class present the same

evidence over and over to separate juries. In re Flint Water Cases, 384 F.Supp.3d 802, 840 (E.D.

Mich. 2019), aff’d and remanded 960 F.3d 303, (6th Cir. 2020) (elements of class claim of
“conscience shocking” behavior focus on what defendants knew and how they acted based on that




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knowledge). As with the other proposed issues, whether and to what degree the conscience-

shocking conduct caused damages would be determined in later proceedings.
        3. Rule 23(c)(4) Predominance, Superiority, and Trial Plan

        The six proposed issues satisfy predominance and superiority in the manner that the Sixth

Circuit applies those requirements in the context of Rule 23(c)(4). All six issues are central to the

action and “are questions that need only be answered once because the answers apply in the same

way to each [plaintiff] within the [issue class].” Martin, 896 F.3d at 414. There are no

“individualized inquiries that outweigh the common questions prevalent within each issue.” Id.

(emphasis in original). Moreover, certifying the proposed issues will streamline litigation at both
the class and individual levels by allowing the parties to dispute common legal and factual

questions “in one fell swoop” and thereby “materially advance the litigation” while conserving

both Court and party resources. Id. at 416.

        Here, Plaintiffs are proposing bifurcated proceedings where the certified issues are tried

first, followed by small group or individual trials on questions such as proximate causation and

damages. See, Manual for Complex Litigation, Fourth, § 21.24. A myriad of case management

tools, as well as the Court’s broad discretionary powers under Rule 23, will make the fair and

effective adjudication of both phases manageable. E.g., Fed. R. Civ. P 23(c)(1)(C) (authority to

alter or amend the class certification order, including modifications to certified issues). Utilizing

certified issues in this case comports with the efficiency imperatives of Rule 23 while protecting

the Plaintiffs’ individual interests and protecting each Defendant’s fairness and due process rights.

In re Flint Water Cases, 558 F.Supp.3d 459, 521 (E.D. Mich. 2021) (class member’s interests in

controlling their own case are preserved because each will get their day in court once certified

issues are resolved); Doe 1, 2023 WL 3945773, at *6 (primary defenses to TVPA claims are “well-

addressed on a class-wide basis” and those that are not can be segregated and asserted separately).
                                     IV.      CONCLUSION
        For the foregoing reasons, Plaintiffs respectfully request the Court grant the requested

certification orders.



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Dated: October 15, 2024           Respectfully submitted,


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                                   CERTIFICATE OF SERVICE

        I HEREBY certify that a copy of the foregoing has been filed and served via the court’s
electronic filing system on October 15, 2024 to counsel of record:

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